                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


UNITED STATES OF AMERICA            )
                                    )                   DOCKET NO. 3:11cr374
         v.                         )
                                    )
                                    )                   SCHEDULING ORDER
                                    )
MICHELLE MALLARD, ET AL.            )
____________________________________)

       THIS MATTER IS BEFORE THE COURT upon the joint motion for a scheduling

order (Doc. No. 77), in light of the Court’s preemptory trial setting.

       IT IS, THEREFORE, ORDERED that the parties’ joint motion is GRANTED. The

Court orders that:

          Motions to compel discovery, motions to suppress, and motions under Rules 7, 8, 12,
           13, 14, 16 and 41 of the Federal Rules of Criminal Procedure shall be filed no later
           than May 31, 2013; responses to those motions shall be filed within fourteen days
           after the filing of such motions, and reply briefs shall be filed within seven days after
           the filing of any such response.

          Motions in limine shall be filed no later than June 7, 2013; responses to those motions
           shall be filed within fourteen days after the filing of such motions, and reply briefs
           shall be filed within seven days after the filing of any such response.

          Proposed voir dire questions and proposed jury instructions shall be filed by July 1,
           2013.


       IT IS SO ORDERED.




                                                  1

       Case 3:11-cr-00374-FDW            Document 78        Filed 05/21/13     Page 1 of 1
